                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                      Civil Case Action No. 3:21-cv-319-MOC-DCK

 WES JOHNSON, and TAMEKIA
 BOTTOMS, individually and on behalf of all
 other similarly situated, The AAA Carolina
 Savings & Investment Plan and The Auto
 Club Group Tax Deferred Savings Plan,

                Plaintiff,
                                                          NOTICE OF SETTLEMENT
 v.

 CAROLINA MOTOR CLUB, INC. d/b/a
 AAA Carolinas; and THE AUTO CLUB
 GROUP,

                Defendant.


        Plaintiffs Wes Johnson and Tamekia Bottoms and Defendants Carolina Motor Club, Inc

and The Auto Club Group (collectively, the “Parties”), by and through counsel, hereby notify the

Court that the Parties have reached a settlement of the above-captioned action. The Parties are

confecting the terms of a written settlement agreement.



This the 15th day of June, 2022

      /s/ Andrew L. Fitzgerald                      /s/ René E. Thorne
      Andrew L. Fitzgerald, N.C.S.B. 31522          René E. Thorne
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/s/ H. Bernard Tisdale III
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                                 CERTFICATE OF SERVICE
        I hereby certify that on June 15, 2022 I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to counsel of record
at the email address(es) listed below:



                                                      __/s/ Andrew Fitzgerald_ __
                                                         Andrew L. Fitzgerald




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